Case 3:23-cv-03974-AGT Document 7 Filed 08/21/23 Page 1of1

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 3:23-cv-03974-AGT

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Q)

This summons for (name of individual and title, ifany) Temasek International (USA) LLC

was received by me on (date) 08/15/2023

© I personally served the summons on the individual at (place)

on (date) ; or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
& I served the summons on (name of individual) Rebekah Mickle, Recept., Temasek International » who is
designated by law to accept service of process on behalf of (name of organization) Temasek International (USA) LLC
101 Califomia St.,43700, San Francisco, CA 94111 on (date) 08/16/2023 3; OF

@ 12:53 PM
O I returned the summons unexecuted because 3 or

[ Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Z A
Date: 08/16/2023
; Y Seip sso ioudtiire
Gregory B. King, Reg. No. 1532, Co. of San Francisco

Printed name and title

Western Attorney Services
75 Columbia Sq.
San Francisco, CA 94103

Server's address

Additional information regarding attempted service, etc:

Documents served: Issued Summons, Complaint with Exhibits A-D, Standing Order for Magistrate Judge Alex G. Tse,
and Settlement Conference Standing Order for Magistrate Judge Alex G. Tse
